                    Case 17-04699-CL13               Filed 12/31/18         Entered 12/31/18 09:05:53            Doc     Pg. 1 of 3
  Fill in this information to identify the case:
  Debtor 1              Stephen J. Lewis
  Debtor 2              Shelly L. Lewis
  (Spouse, if filing)
  United States Bankruptcy Court for the: Southern District of California (San Diego)
  Case number           17-04699

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16


If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert
are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                   HSBC Bank USA, National Association as Trustee for Wells Fargo Asset Securities Corporation, Mortgage Pass-Through
 Name of Creditor: Certificates Series 2006-AR11
 Last 4 digits of any number you use to identify
 the debtor's account:      0745                                                    Court claim no. (if known): 10
 Uniform Claim Identifier: WFCMGE1704699CAS25630745

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
                No
                Yes. Date of the last notice

Part 1:          Itemized Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor¶s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that
approval in parentheses after the date the amount was incurred.

            Description                                                           Dates Incurred                                        Amount

    1. Late charges                                                                                                             (1) $           0.00
    2. Non-sufficient funds (NSF) fees                                             12/17/2018                                   (2) $          25.00
    3. Attorney fees                                                                                                            (3) $           0.00
    4. Filing fees and court costs                                                                                              (4) $           0.00
    5. Bankruptcy/Proof of claim fees                                                                                           (5) $           0.00
    6. Appraisal/Broker's price opinion fees                                                                                    (6) $           0.00
    7. Property inspection fees                                                                                                 (7) $            0.00
    8. Tax advances (non-escrow)                                                                                                (8) $            0.00
    9. Insurance advances (non-escrow)                                                                                          (9) $            0.00
    10. Property preservation expenses. Specify:                                                                               (10) $            0.00
    11. Other. Specify:                                                                                                        (11) $            0.00
    12. Other. Specify:                                                                                                        (12) $            0.00
    13. Other. Specify:                                                                                                        (13) $            0.00
    14. Other. Specify:                                                                                                        (14) $            0.00
The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. § 1322(b)(5) and
Bankruptcy Rule 3002.1.

The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing a
proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and any
supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.




 Official Form 410S2                               Notice of PostPetition Mortgage Fees, Expenses, and Charges                             page 1
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                 Case 17-04699-CL13             Filed 12/31/18          Entered 12/31/18 09:05:53               Doc       Pg. 2 of 3
Debtor 1 Stephen J. Lewis                                                            Case number (if known)      17-04699
            First Name               Middle Name              Last Name


Part 2:      Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.
  Check the appropriate box:
     I am the creditor.
      I am the creditor's authorized agent.   (Attach a copy of power of attorney, if any.)

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
  and reasonable belief.
          /s/ Melissa Ann Anderson                                           Date 12/31/2018
          Signature




  Print: Melissa Ann Anderson                                                Title    VP Loan Documentation
          First Name            Middle Name              Last Name

    Specific Contact Information:                                             Wells Fargo Bank, N.A.
    P: 800-274-7025                                                           MAC N9286-01Y
    E: 180DayInquiries@wellsfargo.com                                         1000 Blue Gentian Road
                                                                              Eagan, MN 55121-7700




 Official Form 410S2                          Notice of PostPetition Mortgage Fees, Expenses, and Charges                                    page 2
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                Case 17-04699-CL13               Filed 12/31/18         Entered 12/31/18 09:05:53               Doc       Pg. 3 of 3
                            UNITED STATES BANKRUPTCY COURT
                                                   Southern District of California (San Diego)
                                                                            Chapter 13 No. 17-04699
 In re:                                                                     Judge: Judge Christopher B. Latham
 Stephen J. Lewis and Shelly L. Lewis
                                                   Debtor(s).

                                                    CERTIFICATE OF SERVICE
 I hereby certify that on or before December 31, 2018, I served a copy of this Notice and all attachments upon each of the entities named below by
 the court's notice of electronic filing or by placing a copy thereof in an envelope, in the United States Mail with first class mail postage prepaid,
 addressed to each of them as follows:

 Debtor:                    By U.S. Postal Service First Class Mail Postage Prepaid:
                            Stephen J. Lewis
                            Shelly L. Lewis
                            3975 Via Palo Verde Lago
                            Alpine, CA 91901


 Debtor's Attorney:         By U.S. Postal Service First Class Mail Postage Prepaid:
                            Adam B. Arnold
                            Law Offices of Adam B. Arnold
                            PO Box 19100
                            San Diego, CA 92159


 Trustee:                   By U.S. Postal Service First Class Mail Postage Prepaid:
                            Thomas H. Billingslea
                            401 West A Street, Suite 1680
                            San Diego, CA 92101




                                                                            /s/ Bill Taylor
                                                                            InfoEx, LLC
                                                                            (as authorized agent for Wells Fargo Bank, N.A.)




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